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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


                                  )                 Chapter 7
In re:                            )
                                  )                 Case No. 23-10253 (KBO)
AKORN HOLDING COMPANY LLC et. al., )
                                  )                 (Jointly Administered)
                  Debtors.        )
                                  )                 Hearing Date: May 19, 2022 at 10:00 AM
                                  )                 Objection Date: May 16, 2023
                                  )
                                  )                 Docket Nos. 106 and 146
                                  )

          GALENICUM HEALTH, S.L.U.’S RESERVATION OF RIGHTS
        AND OBJECTION TO CURE AND ASSUMPTION AND ASSIGNMENT

       Galenicum Health, S.L.U. (“Galenicum) a creditor and contract counter party of the

above captioned debtors (“Debtors”) submits this reservation of rights and objection

(“Objection”) in response to (1) Trustee’s Motion for Entry of (I) An Order (A) Approving

Bidding Procedures in Connection With Sale of Substantially All of the Estates’ Assets, (B)

Scheduling an Auction and Hearing to Consider the Proposed Sale, and (C) Approving the Form

and Manner of Notice Thereof; and (II) An Order (A) Approving the Sale, (B) Authorizing the

Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting

Certain Related Relief (“Sale Motion”) [Docket No. 106] and (2) Notice of Executory Contracts

and Unexpired Leases That May Be Assumed and Assigned, Pursuant to Section 365 of the

Bankruptcy Code, in Connection with the Sale of Substantially all of the Debtors’ Assets, and the

Proposed Cure Amounts (“Assumption Notice”) [Docket No. 146], filed by George L. Miller, in

his capacity as the Chapter 7 Trustee (“Trustee”) for Akorn Holding Company LLC, et al.

(“Debtors”).




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                      OBJECTION AND RESERVATION OF RIGHTS

       1.      The Debtors filed the above-captioned case on February 23, 2023 (“Petition

Date”) and the Trustee was appointed thereafter. The Trustee filed the Sale Motion on April 20,

2023. On May 1, 2023, the Trustee filed the Assumption Notice. Pursuant to the Sale Motion, the

Trustee seeks approval to sell some or substantially all of the Debtors’ assets to one or more

purchasers. No stalking bidder has been identified. On April 28, 2023, the Court entered an

Order [Docket No. 137] (“Order”) approving certain bid procedures. Pursuant to the Order, an

auction was scheduled for May 10th, 11th, and 12th.

       2.      There is a License and Supply Agreement (“Contract”) between the Debtors and

Galenicum. There is a cure amount of $250,000.001 accrued, due, and owing under the Contract.

The Trustee, however, has identified the contract in the assumption notice with a cure amount of

$0, which demonstrates that it does not intend to pay any cure in violation of 11 U.S.C. §

365(b)(1)(A). The Contract includes a license of technology which includes various trade secrets,

scientific know-how, and confidential business information, which are not assignable absent

Galenicum’s consent under both the terms of the contract and applicable law.

       3.      Galenicum does not consent to the assumption and assignment of any of it’s

technology.2




1
 Galenicum also further reserves it’s rights to further assert additional cure amounts related to
multiple contractual covenants which Akorn had previously satisfied but the Trustee has not to
date, as it has not communicated or consulted with Galenicum to date.
2
 Certainly, Galenicum would never consent without full payment and cure of any accruing and
ongoing defaults and without adequate assurance of future performance, neither of which have
been provided to Galenicum.

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                                          ARGUMENT

             A. The Debtors May Not Assume And Assign Galenicum’s Agreements
                Absent Galenicum’s Consent Because They Pertain To Licenses Of
                Intellectual Property and Other Personal Services Obligations Which
                Cannot Be Assumed and Assigned.

       4.      Section 365(c) of the Bankruptcy Code provides, in relevant part:

               The trustee may not assume or assign any executory
               contract … of the debtor … if (1)(A) applicable law
               excuses a party, other than the debtor, to such contract or lease
               from      accepting     performance       from     or    rendering
               performance to an entity other than the debtor …, whether or
               not such contract or lease prohibits or restricts assignment of
               rights or delegation of duties; and (B) such party does not consent
               to such assumption or assignment.

       5.      The Contract contains various technologies, consisting of intellectual property and

business information (“Technology”) which is licensed by Galenicum to the Debtors, which,

under applicable nonbankruptcy law, may not be assigned without consent of Galenicum. See,

e.g., In re Access Beyond Techs., Inc., 237 B.R. 32, 45 (Bankr. D. Del. 1999) (“The ‘long

standing federal rule of law with respect to the assignability of patent license agreements

provides that these agreements are personal to the licensee and not assignable unless expressly

made so in the agreement.’”). Additionally, because the technology may not be assigned without

the consent of the Galenicum, they may not be assumed by the Trustee unless Galenicum

consents to such assumption. See Id. at 48-49.

       6.      The Contract is a personal services agreement that is not assignable under Section

365(c). Section 365(c) provides that a contract cannot be assumed or assigned if applicable law

would excuse a party from accepting or rendering performance to or from another entity other

than the Debtor, whether or not the contract prohibits assignment of rights. The Contract

contemplates a close working agreement between the Debtor and Galenicum to protect its



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abbreviated new drug application (“ANDA”) rights. Contract, Section 6.4. It contemplates that

the parties would consult and notify each other regarding any regulatory activity that would

affect Galenicum’s ANDA rights. Id. at 6.5 and 6.6. The Debtors and Galenicum also are

required to coordinate and notify each other regarding any product recalls. Id. at 6.7. Galenicum

also has an obligation to facilitate and permit inspections of its manufacturing facility for any

regulatory authority and open it’s facilities for the Debtors site auditors and for document

review. Id. at 6.9.

        7.      There are countless other examples of the integrated personal services nature of

the obligations between the parties, including quality agreement requirements,

pharmacovigilance agreements, reporting, books and records audits, and protections of trade

secrets. Id. at 6.10, 6.11, Article 7, and 9.5. The licensing of the Technology and the ANDA

rights, including the ANDA Dossier and related business and marketing information are the

hallmarks of a personal services agreement which cannot be assumed and assigned without

Galenicum’s permission. Thus, whether viewed as a personal services contract, or one where the

parties reposed trust and confidence in each other, the contract is one that cannot be assigned

without consent. See Humanigen, Inc. v. Savant Neglected Diseases, LLC, 238 A.3d 194, n. 71

(Del. 2020); Great Am. Opportunities, Inc. v. Cherrydale Fundraising, LLC, 2010 Del. Ch.

LEXIS 15, 2010 WL 338219, at *11 (Del. Ch. Jan. 29, 2010; and Grynberg v. Burke, 1981 Del.

Ch. LEXIS 475, 1981 WL 15118, at *1 (Del. Ch. May 20, 1981)).

        8.      Furthermore, there was specific purpose in Galenicum’s election to enter into this

business relationship with the Debtor involving a license and transfer of its ANDA rights and

Dossier. In addition to needing to find a partner who would protect the value of the intellectual

property, including valuable trade secrets and confidential business information, Galenicum



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recognized the value in the Debtor’s subject matter expertise and business knowledge of the

relevant market. The Debtor has responded and complied with its reporting, regulatory, and

cooperation and coordination obligations under the contract. Given the highly specific and

technical nature of these obligations, in a highly regulated and competitive business, very few

assignees of this license, if any, would be able to comply with the personal services requirements

of the Contract or in terms of adequate assurance of performance.

       9.      There are non-assignability provisions in the Contract due to the nature of the

ANDA rights and the Dossier, among other aspects of the Technology. While there are not any

active patents in the technology, patent licenses are analogous in that they are considered

personal to the holder and are not assignable, at least where the license does not explicitly permit

assignment. In re Access Beyond Technologies, Inc., 237 B.R. 32 (Bankr. D. Del. 1999) (patent

license agreement that did not explicitly grant power to assign could not be assigned under

Section 365 and further could not be sold pursuant to Section 363); See also In re Sunterra

Corp., 361 F.3d 257, 271 (4th Cir. 2004) (holding that a debtor was statutorily barred by §

365(c)(1) from assuming a computer software license where contract counterparty did not

consent to the assumption); In re: West Elec., Inc., 852 F. 2d 79 (3d Cir. 1988) (holding that the

“provision limiting assumption of contracts is applicable to any contract subject to a legal

prohibition against assignment.”), In re Trump Entm't Resorts, Inc., 526 B.R. 116, 126 (Bankr.

D. Del. 2015) (“[P]atent and copyright licenses create only personal and not property rights in

the licensed intellectual property and so are not assignable.”); In re Rupari Holding Corp., 573

B.R. 111, 119 (Bankr. D. Del. 2017) (holding that the debtor could not assume and assign a

trademark license without the consent of the non-debtor licensor).




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       10.     Pursuant to Bankruptcy Code section 365, the Trustee may not assume and assign

the Galenicum Agreements without Galenicum’s consent.

       11.     For the reasons discussed herein, Galenicum does not consent to any proposed

assumption and assignment.

               B.      To The Extent the Trustee Seeks To Assume And Assign The
                       Galenicum Agreements, the Cure Amount Must Be Paid in
                       Full and Adequate Assurance Of Future Performance By The
                       Purchaser(s) Must Be Provided.

       12.     If one object of the Sale Motion is to authorize the Trustee to assume and assign

the Galenicum Agreements, the Trustee cannot accomplish this unless all defaults are cured and

adequate assurance of future performance by the purchaser(s) is provided. Before assuming and

assigning any executory contract, the Trustee must cure any default. 11 U.S.C. § 365(b)(1)(A).

A cure under 11 U.S.C. § 365 means that all unpaid amounts due under the agreement have been

paid. In re Network Access Solutions, Corp., 330 B.R. 67, 76 (Bankr. D. Del. 2005). At present,

the Trustee or the purchaser(s) do not intend to pay any cure amount to Galenicum. As such, the

Contract cannot be assumed.

       13.     Before assuming and assigning any executory contract, the Trustee must provide

adequate assurance of future performance. 11 U.S.C. § 365(b)(1)(C). In the event the Trustee

intends to assume and assign any Galenicum agreement, Galenicum requests that the Trustee

provide the following information about the relevant purchaser(s): (a) financial bona fides; (b)

confirmation that the purchaser(s) is not an Galenicum competitor; and (c) confirmation that the

purchaser(s) will (i) execute an Galenicum Assignment Agreement and related documentation

which identifies all of the Galenicum executory contracts to be assigned, and (ii) if appropriate,

enter into any further agreements required by the Contract.




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       14.     Absent these assurances, Galenicum cannot determine the purchaser(s)’

creditworthiness, suitability as an Galenicum customer, or ability to adequately perform under

the terms of the Galenicum Agreements. As the Contract was a personal contract in which the

counterparty was carefully selected and vetted due the nature of the Technology, the lack of any

information just further reinforces the fact that this is the type that cannot be assumed and

assigned without Galenicum’s consent. Until the information described above is provided, the

Trustee has not complied with the requirements of section 365(b)(1).

                                 RESERVATION OF RIGHTS

       15.     As of the filing of this Objection, no successful bidder has been identified and no

asset purchase agreement between the Trustee and any proposed purchaser(s) has been filed with

the Court. Galenicum is therefore unable to determine if its rights may be affected by the sale or

any asset purchase agreement or related agreement entered into between the Trustee and the

purchaser(s). Galenicum accordingly reserves all rights to further object to the asset purchase

agreement between the Trustee and the ultimate purchaser(s).

        16.    Galenicum does not release or waive any claim, right, or remedy under any of its

purchase orders, the Bankruptcy Code, or other applicable law. Galenicum preserves all claims,

whether known or unknown, whether contingent or matured, whether liquidated or unliquidated,

in law or equity. Galenicum also has grave concerns that its trade secrets were compromised in

the sales process as it was not consulted in any manner. Galenicum was not served a cure notice

but did receive some documents filed in the bankruptcy in Spain after the auction had been

completed. Only being able to secure counsel in the last few days, Galenicum has no idea what

the Trustee has or has not done in terms of protecting trade secrets or highly sensitive

commercial information and reserves all rights to address any damages or harm to its interests.



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                                       CONCLUSION

       17.    For the foregoing reasons, Galenicum respectfully requests that any request by the

Trustee for authority to assume and assign, or transfer any Galenicum agreement, including the

Contract, in the absence of Galenicum’s consent be denied.



Date: May 16, 2023                          Respectfully submitted,

                                            /s/ Rafael X. Zahralddin-Aravena
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